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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                     No. CR S-04-0104-JAM-CMK
                                                       CIV S-09-2655-JAM-CMK
12                  Respondent,

13          vs.                                    ORDER

14   MARK STEVEN ERCKERT,

15                  Movant.

16                                        /

17                  Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255.

19                  Pending before the court is Movant’s application to proceed in forma pauperis

20   (Doc. 221). Movant’s indigency was previously established during the underlying criminal

21   proceedings. His current application is therefore unnecessary, and will be denied as such.

22                  Movant has also requested the appointment of counsel (Doc. 222). There

23   currently exists no absolute right to appointment of counsel in § 2255 proceedings. See Irwin v.

24   United States, 414 F.2d 606 (9th Cir. 1969). However, 18 U.S.C. § 3006A authorizes the

25   appointment of counsel at any stage of the case “if the interests of justice so require.” Rule 8(c),

26   Rules Governing Section 2255 Proceedings. In the present case, the court does not find that the

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 1   interests of justice would be served by the appointment of counsel at this time.

 2                  Accordingly, IT IS HEREBY ORDERED that movant’s application to proceed in

 3   forma pauperis (Doc. 221) and request for appointment of counsel (Doc. 222) are denied.

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 5    DATED: November 17, 2009
 6                                                  ______________________________________
                                                    CRAIG M. KELLISON
 7                                                  UNITED STATES MAGISTRATE JUDGE
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